      Case 2:14-cr-00168-TOR           ECF No. 1705         filed 07/21/16      PageID.8426 Page 1 of 2
 PROB 12C                                                                                Report Date: July 21, 2016
(6/16)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: John H. Huscusson                        Case Number: 2:14CR00168-TOR-17
 Address of Offender:                          Elk, Washington 99009
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, Chief U.S. District Judge
 Date of Original Sentence: October 7, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. §§ 1344, and 1349
 Original Sentence:       Prison - 1 day                    Type of Supervision: Supervised Release
                          TSR - 48 Months
 Asst. U.S. Attorney:     George J. C. Jacobs, III          Date Supervision Commenced: October 7, 2015
 Defense Attorney:        Colin G. Prince                   Date Supervision Expires: October 6, 2019

                                         PETITIONING THE COURT

               To issue a WARRANT and incorporate the violation(s) contained in this petition in future
proceedings with the violation(s) previously reported to the Court on 01/05/2016, 03/09/2016, and 05/17/2016.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            7           Standard Condition # 2: The defendant shall report to the probation officer in a manner and
                        frequency directed by the court or probation officer.

                        Supporting Evidence: John Huscusson violated the conditions of his supervised release in
                        Spokane, Washington, on July 15, 2016, by failing to report to the U.S. Probation Office as
                        directed by his probation officer.


            8           Special Condition # 15: The defendant shall abstain from the use of illegal controlled
                        substances, and shall submit to urinalysis or sweat patch testing, as directed by the
                        supervising officer, but no more than six tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: John Huscusson violated the conditions of his supervised release by
                        consuming a controlled substance, methamphetamine, on or about June 15, 2016. In
                        addition, the offender failed to appear for random urinalysis testing on July 5 and July 14,
                        2016.
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          10          Special Condition # 17: The defendant shall undergo a substance abuse evaluation and, if
                      indicated by a licensed/certified treatment provider, enter into and successfully complete an
                      approved substance abuse treatment program, which could include inpatient treatment and
                      aftercare. Defendant shall contribute to the cost of treatment according to his ability to pay.
                      You shall allow full reciprocal disclosure between the supervising officer and treatment
                      provider.

                      Supporting Evidence: John Huscusson violated the conditions of his supervised release in
                      Deer Park, Washington, by failing to attend substance abuse treatment on June 20, June 27,
                      June 28, June 30, and July 18, 2016.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:     07/21/2016
                                                                             s/Jeremy M. Tracy
                                                                             Jeremy M. Tracy
                                                                             U.S. Probation Officer

 THE COURT ORDERS

 [ ]      No Action
 [X ]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [X ]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the case.
 [X ]     Defendant to appear before the Magistrate Judge.
 [ ]      Other


                                                                             Signature of Judicial Officer

                                                                               July 21, 2016
                                                                             Date
